Case 1:23-cv-03621-SCJ Document 63 Filed 08/29/23 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF GEORGIA
ATLANTA DIVISION

THE STATE OF GEORGIA,
CIVIL ACTION FILE

No. 1:23-CV-03621-SC]
MARK RANDALL MEADOWS, RE: NOTICE OF REMOVAL OF
FULTON COUNTY SUPERIOR
Defendant. COURT INDICTMENT NO.
23SC188947

ORDER
Having held an evidentiary hearing in the above-captioned matter, the
Court deems it proper to request limited additional briefing on the following
issue:

Count 1 of the Indictment (pertaining to Georgia’s
Racketeer Influenced and Corrupt Organizations Act
(RICO), O.C.G.A. § 16-14-4(c)) contains a number of
overt acts attributed to Mr. Meadows. Would a finding
that at least one (but not all) of the overt acts charged
occurred under the color of Meadows’s office, be
sufficient for federal removal of a criminal prosecution
under 28 U.S.C. § 1442(a)(1)?

The Parties shall file supplemental briefing by 5:00 p.m., Thursday,

August 31, 2023.

Case 1:23-cv-03621-SCJ Document 63 Filed 08/29/23 Page 2 of 2

IT IS SO ORDERED this _o¢ 94h day of August, /

HONORABLE STEVK C. JONES
UNITED STATES DISTRICT JUDGE

